      Case 2:09-cr-00116-RHW               ECF No. 249             filed 09/21/20             PageID.1337 Page 1 of 3
PROB 12B
(7/93)                                                                                                         FILED IN THE
                                                                                                           U.S. DISTRICT COURT
                                          United States District Court                               EASTERN DISTRICT OF WASHINGTON




                                                             for the                                  Sep 21, 2020
                                                                                                          SEAN F. MCAVOY, CLERK

                                           Eastern District of Washington

                        Request for Modifying the Conditions or Term of Supervision
                                       with Consent of the Offender
                                         (Probation Form 49, Waiver of Hearing is Attached)




 Name of Offender: Eddie Ray Hall                                  Case Number: 0980 2:09CR00116-RHW-1
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: April 21, 2011                         Type of Supervision: Supervised Release
 Original Offense: Distribution of 50 Grams or More                Date Supervision Commenced: August 19, 2020
 of a Mixture or Substance Containing 5 Grams or
 More of Actual Methamphetamine, 21 U.S.C. §
 841(a)(1)
 Original Sentence: Prison - 195 months;                           Date Supervision Expires: August 18, 2025
                    TSR - 60 months
 Amended Sentence: Prison - 3824 days
                   TSR - 60 months


                                            PETITIONING THE COURT

To modify the conditions of supervision as follows:


19         You must abstain from the use of illegally controlled substances, and must submit to urinalysis and sweat
           patch testing, as directed by the supervising officer, but no more than 6 tests per month, in order to confirm
           continued abstinence from these substances.


                                                            CAUSE

The offender is currently being supervised by the District of Montana. In order to further assist the monitoring of the
offender for illegal substance use the above modification of conditions with Mr. Hall’s and his attorney’s consent
is requested.

                                                                                         Respectfully submitted,
                                                                                by       s/Richard Law
                                                                                         Richard Law
                                                                                         Supervisory U.S. Probation Officer
                                                                                         Date: September 18, 2020
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      Prob 12B
      Re: Hall, Eddie Ray
      September 18, 2020
      Page 2

THE COURT ORDERS

[ ]       No Action
[ ]       The Extension of Supervision as Noted Above
[ ]       The Modification of Conditions as Noted Above
 X
[ ]       Other

                                                                           Signature of Judicial Officer

                                                                              09/21/2020
                                                                           Date
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OPROB 49
(3/89)




                                    United States District Court
                                              Eastern District of Washington

                                     Waiver of Hearing to Modify Conditions
                          of Probation/Supervised Release or Extend Term of Supervision

        I have been advised and understand that I am entitled by law to a hearing and assistance of counsel before any
unfavorable change may be made in my Conditions of Probation and Supervised Release or my period of supervision
being extended. By “assistance of counsel,” I understand that I have the right to be represented at the hearing by
counsel of my own choosing if I am able to retain counsel. I also understand that I have the right to request the court
to appoint counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of my own
choosing.

        I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I also agree the
following modification of my Conditions of Probation and Supervised Release or to the proposed extension of my term
of supervision:
To modify the conditions of supervision as follows:

19         You must abstain from the use of illegal controlled substances, and must submit to urinalysis and sweat patch
           testing, as directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued
           abstinence from these substances.




Witness:                                                              Signed:
                               Richard Law                                                  Eddie Ray Hall
                            U.S. Probation Officer                                 Probationer or Supervised Releasee



                                                               Date
